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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LUXOTTICA GROUP S.p.A.
and OAKLEY, INC.,                                   Case No. 18-cv-05194

                        Plaintiffs,                 Judge Manish S. Shah
       v.
                                                    Magistrate Judge Michael T. Mason
YAOLONG HE, et al.,
                        Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Luxottica

Group S.p.A. and Oakley, Inc. (“Plaintiffs”) hereby dismiss this action with prejudice against the

following Defendant:

               Defendant Name                                          Line No.
            Splash Professional Store                                    1034


Dated this 24th day of May 2019.             Respectfully submitted,

                                             /s/ Justin R. Gaudio
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